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IN THE UNITED STATES DISTRICT 4

FOR THE NORTHERN DISTRICT OF [TEXAS

DALLAS DIVISION

UNITED STATES OF AMERICA

 

    
  

U.S. DISTRICT COURT

   

 

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CLERS, US. UE

 

Vv. No. 3:19-MJ-077-BT

SANJAY NANDA

ORDER ON THIRD JOINT MOTION TO CONTINUE TIME TO INDICT

The Government and the Defendant, Sanjay Nanda, have jointly moved this Court

to continue for a period of 28 days the date by which an indictment must be filed in this

case. For the reasons set forth in the Joint Motion, the Court GRANTS the Motion.

In accordance with 18 U.S.C. §§ 3161(h)(8)(B)(iv), the Court finds that the ends

of justice served by granting this motion for continuance outweigh the best interests of

the public and the defendant in a speedy trial. In this regard, the Court has considered

factors that indicate that its failure to grant this motion would result in the unnecessary

expenditure of significant public and private resources, and a possible miscarriage of

justice. Therefore, any period of delay resulting from this Order granting the motion for

continuance shall be excluded in computing the time within which the trial of this cause

must commence under 18 U.S.C. § 3161.
 

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Accordingly, it is ORDERED that the deadline for the government to file an

indictment in this case is June 21, 2019.

Signed high day of May 2019.

HONORABLE REBECCA R
UNITED STATES MAGIS
